






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00477-CV






John Koo-Hyun Kim, Appellant


v.


Moon-Seok Kim, Byung-Jin Choi, Hong-Il Kim, Yong-Kewn Shin, Hyung-Jin Rim, 

and Do-Yong You, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-GN-08-001719, HONORABLE JOHN K. DIETZ, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	On May 19, 2008, appellant John Koo-Hyun Kim ("Kim") filed a pro se petition in
the trial court seeking an ex parte temporary restraining order and temporary injunction against
several defendants, (1) alleging that they, using a constable, threatened Kim and had him evicted from
his church, the American Korean Presbyterian Church (AKPC), during worship services when he
sought to address the congregation and ask questions related to the recent removal or resignation of
AKPC's pastor, Dr. Park Yong-Jin.  Kim's petition seemed to ask the trial court (1) to order the
defendants not to interfere with Kim's efforts to speak at the church; (2) to require the church to
hold&nbsp;a congregational meeting on May 25, 2008, six days after Kim filed his petition; (3) to restore
Dr.&nbsp;Park as pastor; and (4) to bar the defendants from coming onto church property altogether. (2) 
On&nbsp;May 19, the trial court signed an order declining to grant a temporary restraining order, stating
that Kim's petition did not show irreparable harm or an inadequate legal remedy, and setting Kim's
application for a temporary injunction for a hearing on May 29, 2008.  On June 9, following that
hearing, the trial court signed an order denying Kim's request for injunctive relief.   

	Kim filed a motion with the Travis County Local Administrative Judge complaining
about several trial court judges' denials of Kim's motions for a restraining order and injunction and
their handling of various hearings and requests made by Kim.  On June 30, the administrative judge
sent Kim a letter explaining that Kim had not satisfied his burden of showing he was entitled to a
restraining order or injunction.  The administrative judge said, "I have reviewed your case and your
motion and will take no further action.  To the extent that your motion could be construed as a
motion for rehearing on the temporary restraining order and temporary injunction, that motion is
DENIED."  On July 7, Kim filed an "Uncontested Motion to grant Temporary Restraining Order,"
in which he asserted that because the defendants did not appear at a hearing on June 23, Kim was
entitled to relief.  A hearing was held on July 29, during which the administrative judge explained
that Kim had not alleged a cognizable cause of action and that courts lack jurisdiction to interfere
in matters related to internal church management and governance.  Kim appeals from that refusal to
grant his requests for injunctive relief, as well as the other trial courts' denials of his request, and
asks us to grant a default judgment against appellees, order appellees to stay away from any
AKPC&nbsp;property, and restore Dr. Park as the pastor at AKPC.

	We have reviewed the record and Kim's various filings.  Setting aside the fact that
Kim has provided no evidence of wrongdoing by appellees other than his own unsupported
allegations that Dr. Park "disappeared from his church overnight . . . as if he were kidnapped" and
that Dr. Park and his family will starve to death, be made homeless, or be deported to South Korea,
the administrative judge was correct that the matters of which Kim complains are related to the
church's internal governance and its procedures for hiring and firing ministerial staff.  These are
issues over which courts in this country may not exercise jurisdiction.  See Westbrook v. Penley,
231&nbsp;S.W.3d 389, 398-401 (Tex. 2007); see also Minker v. Baltimore Annual Conference of
United&nbsp;Methodist Church, 894 F.2d 1354, 1357 (D.C. Cir. 1990) ("Not only may a church adopt its
own idiosyncratic reasons for appointing pastors, but also it 'has a legitimate claim to autonomy in
the elaboration and pursuit of that goal.'  We need not find that the factors relied upon by the Church
were independently ecclesiastical in nature, only that they were related to a pastoral appointment
determination." (citations omitted)); Hafner v. Lutheran Church-MO. Synod, 616 F. Supp. 735, 739
(N.D. In. 1985) ("The aforesaid authorities lead this court inescapably to the conclusion that this
court lacks subject matter jurisdiction over this dispute between a minister and his church regarding
the conditions of his employment and post-employment obligations.").  Because Kim complains
entirely of decisions and conduct in which the judicial system may not get involved, the trial court
judges properly denied Kim's requests for injunctive relief.  We affirm the trial courts' orders and
dismiss any outstanding motions filed by Kim or appellees.


					__________________________________________

					David Puryear,  Justice

Before Chief Justice Jones, Justices Puryear and Henson

Affirmed

Filed:   July 17, 2009
1.   The named appellees were the individuals Kim named in his most recent filings in the
trial&nbsp;court.  The named defendants in the underlying proceeding changed from document
to&nbsp;document.
2.   We say Kim's petition "seemed" to request certain action because his filings are extremely
difficult to understand.  Some of the evidence he attached was in Korean, another exhibit was a page
of photocopied newspaper articles related to Texas courts' review of the removal of children from
the Yearning for Zion Ranch, and in one filing he apparently compares his treatment by his church
to the treatment of protesters at a meeting of the Democratic National Committee. 


	Kim's filings in this Court are similarly difficult to understand.  In his brief, Kim asks us to
grant "default judgment" against the appellees, refers to the Bible for support, and recites his own
version of the facts without citing to evidence in the record or authority based in statute or case law. 
See Tex. R. App. P. 38.1(f)-(i).  Pro se litigants are generally held to the same procedural rules as
represented parties.  Mansfield State Bank v. Cohn, 573 S.W.2d 181, 184-85 (Tex. 1978).  Kim's
filings do not satisfy the rules of civil or appellate procedure, and we could hold that any complaints
are waived and summarily affirm the trial court's order.  See Rivera v. Countrywide Home Loans,
Inc., 262 S.W.3d 834, 842 (Tex. App.--Dallas 2008, no pet.) ("Because the Riveras have failed to
adequately brief this ground . . . they have waived their challenge to summary judgment on these
damages.").  In the interest of justice, however, we will attempt to address Kim's complaints to the
extent we can discern them.  


	We must note that in addition to this cause, Kim has filed ten other proceedings in this Court
alone and has not prevailed in the nine matters that have been decided before this date.  See In re
Kim, No. 03-07-00218-CV; In re Kim, No. 03-07-00219-CV; Kim v. United Cent. Bank, No. 03-07-00223-CV; Kim v. State Farm Ins. Co., No. 03-07-00224-CV; In re Kim, No. 03-07-00243-CV; Kim
v. Texas Workforce Comm'n, No. 03-07-00267; Kim v. Austin Cmty. Coll., No. 03-07-00320-CV;
Kim v. Walnut Creek Apartment Manager's Supervisors, No. 03-07-00519-CV; In re Kim, No. 03-09-00113-CV; see also Kim v. Yeakel, No. 03-07-00309-CV (abated).  We recently affirmed one
trial&nbsp;court's determination that Kim was a vexatious litigant, discussing the difficulties this Court
has faced in attempting to decipher Kim's filings and our fruitless attempts to instruct him as to
the&nbsp;requirements placed on parties by the rules of civil and appellate procedure.  See In re Kim,
No.&nbsp;03-09-00113-CV (Tex. App.--Austin June 2, 2009, orig. proceeding), available at
www.3rdcoa.courts.state.tx.us/opinions/HTMLOpinion.asp?OpinionID=18151.


